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 5                         IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7
 8   BENJAMIN JACOB KERENSA,                      )           No. C 07-0435 JSW (PR)
                                                  )
 9                         Plaintiff,             )           ORDER OF DISMISSAL
                                                  )
10     vs.                                        )
                                                  )
11   FEDERAL BUREAU OF                            )
     INVESTIGATION,                               )
12                                                )
                           Defendants.            )
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             On January 23, 2007, Plaintiff filed a pro se civil rights action in this Court. On
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     that same day the Court sent a notification to Plaintiff informing him that he had neither
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     paid the filing fee nor submitted a completed application for leave to proceed in forma
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     pauperis. The Court provided a copy of the correct in forma pauperis application, along
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     with a return envelope, and a notification that the case would be dismissed if Plaintiff
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     failed to pay the fee or file the completed application within thirty days. More than thirty
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     days has passed and Plaintiff has not responded. Accordingly, this case is DISMISSED
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     without prejudice for failure to pay the filing fee. The clerk shall close the file and enter
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     judgment in this matter.
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             IT IS SO ORDERED.
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     DATED:May 14, 2007
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26                                              JEFFREY S. WHITE
                                                United States District Judge
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